       Case 1:24-cv-00798-ADA           Document 46        Filed 03/12/25      Page 1 of 2




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

UNITED STATES OF AMERICA,                        §
                                                 §
               Plaintiff,                        §
                                                 §
       v.                                        §      Case No. 1:24-CV-00798-ADA
                                                 §
SOUTHWEST KEY PROGRAMS, INC.,                    §
                                                 §
               Defendant.                        §

                            JOINT STIPULATION OF DISMISSAL

       The parties hereby stipulate to the dismissal with prejudice of the above captioned case

pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii). Rule 41(a)(1)(A)(ii) provides that “the

plaintiff may dismiss an action without a court order by filing . . . (ii) a stipulation of dismissal

signed by all parties who have appeared.” A stipulation of dismissal under Rule 41(a) is effective

when filed and does not require an order of the Court. See SmallBizPros Inc. v. McDonald, 618

F.3d 458, 461 (5th Cir. 2010).



Dated: March 5, 2025                          Respectfully submitted,

 WILLIAMS & CONNOLLY LLP                      MAC WARNER
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                                              Civil Rights Division
                                              United States Department of Justice

                                              MICHAEL E. GATES
                                              Deputy Assistant Attorney General
                                              Civil Rights Division

                                              CARRIE PAGNUCCO
                                              Chief

 By: s/ Christopher N. Manning                s/ Timothy J. Moran
        Christopher N. Manning                TIMOTHY J. MORAN


                                                 1
       Case 1:24-cv-00798-ADA            Document 46        Filed 03/12/25      Page 2 of 2




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                              CERTIFICATE OF CONFERENCE

       I certify that on March 3, 2025, the Parties conferred and agreed to the terms of this Joint

Stipulation of Dismissal.

                                               s/ Timothy J. Moran
                                               Timothy J. Moran
                                               Counsel for United States of America




                                 CERTIFICATE OF SERVICE

       I certify that I electronically filed the foregoing with the Clerk of Court using the CM/ECF

system, which will send notification to all counsel of record in this case on the date of filing.

                                               s/ Timothy J. Moran
                                               Timothy J. Moran
                                               Counsel for United States of America




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